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 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                  )   CASE NO. 2:13-cr-00078 MCE
                                                )
12                       Plaintiff,             )
                                                )   STIPULATION AND ORDER
13   v.                                         )
                                                )
14    RATHANAK VAN,                             )
          aka “LOONEY”                          )   Date: April 11, 2013
15    SNANGEHK PEOU,                            )   Time: 9:00 a.m.
      LITTANOVONE KEOPADUPSY, and               )   Judge: Hon. Morrison E. England
16    HO LY,                                    )
                                                )
17                       Defendants.            )
                                                )
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            IT IS HEREBY STIPULATED by and between: Assistant United
20
21   States Attorney Paul Hemesath, counsel for Plaintiff; Michael Petrik,

22   counsel for defendant RATHANAK VAN, Christopher Cosca, counsel for

23   defendant SNANGEHK PEOU; Mark Reichel, counsel for LITTANOVONE
24   KEOPADUPSY; and Michael Long, counsel for HO LY, that the above status
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     conference be rescheduled from this Court’s April 11, 2013, calendar,
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     and that the matter be re-calendared for May 23, 2013, at 9:00 a.m.
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     This request is made jointly by the government and defense in order to
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     permit time for continued preparation, including investigation which is
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     currently in progress, and plea negotiations.           Defense counsel is
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 3   reviewing substantial discovery materials, including hours of video and

 4   audio recordings concerning the alleged conduct.            The parties agree

 5   that the interests of justice served by granting this continuance
 6   outweigh the best interests of the public and the defendant in a speedy
 7
     trial.
 8
               IT IS FURTHER STIPULATED that time be excluded between April 11,
 9
     2013, and May 23, 2013, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv),
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11   Local Code T-4.

12   Dated: April 9, 2013                          /s/ Paul Hemesath
                                                   Paul Hemesath
13                                                 Assistant United States Attorney
                                                   Counsel for Plaintiff
14
15
     Dated: April 9, 2013                          /s/ Michael Petrik
16                                                 Michael Petrik
                                                   Counsel for Defendant
17                                                 RATHANAK VAN
18
     Dated: April 9, 2013                          /s/ Mark Reichel
19
                                                   Mark Reichel
20                                                 Counsel for Defendant
                                                   LITTANOVONE KEOPADUPSY
21
22   Dated: April 9, 2013                          /s/ Christopher Cosca
                                                   Christopher Cosca
23                                                 Counsel for Defendant
24                                                 SNANGEHK PEOU

25
     Dated: April 9, 2013                          /s/ Michael Long
26                                                 Michael Long
                                                   Counsel for Defendant
27                                                 HO LY
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              Case 2:13-cr-00078-DAD Document 21 Filed 04/15/13 Page 3 of 3

                                           O R D E R
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               Finding that the interests of justice served by granting this
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     continuance outweigh the best interests of the public and the defendant
 4
     in a speedy trial.
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 6             IT IS SO ORDERED.
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     DATED:    April 12, 2013
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11                                       _____________________________________________
                                         MORRISON C. ENGLAND, JR., CHIEF JUDGE
12
                                         UNITED STATES DISTRICT JUDGE
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